

ON PETITION FOR REHEARING EN BANC

W. EUGENE DAVIS, Circuit Judge.
ORDER:
The court having been polled at the request of one of its members, and a majority of the judges who are in regular active service and not disqualified not having voted in favor (Fed. R.App. P. 35 and 5th Cir.- R. 35), the petition for rehearing en banc is DENIED.*
In the en banc poll, five judges voted in favor of rehearing (Judges Jolly, Jones, Clement, Owen and Elrod) and eight judges voted against rehearing (Chief Judge Stewart and Judges Davis, Dennis, Prado, Southwick, Haynes, Graves and Higginson).

 Judge Smith is recused and did not participate in the consideration of the petition for rehearing en banc.

